                                   COURT OF APPEALS
                                EIGHTH DISTRICT OF TEXAS
                                     EL PASO, TEXAS

                                                 §
 Armando Avila,                                                 No. 08-16-00060-CV
                                                 §
                   Appellant,                                      Appeal from the
                                                 §
 v.                                                              419th District Court
                                                 §
 United Parcel Service, Inc.,                                  of Travis County, Texas
                                                 §
                  Appellee.                                   (TC# D-1-GN-14-000743)


                                            ORDER

       Appellant has filed a Motion to Abate Appeal and a Motion Directing Clerk to Forward

Original Exhibits. The Court has determined that it will be necessary for the trial court to

conduct a hearing to resolve certain issues before the Court rules on the pending motions.

       Appellant asserts that the clerk’s record is incomplete because it does not include an

accurate copy of Exhibit 1 attached to the Plaintiff’s First Amended Response to Defendant’s

Motion for Traditional and No Evidence Summary Judgment. The District Clerk’s Office

informed the Court in response to an earlier inquiry that Appellant filed a paper version of the

summary judgment response and the District Clerk scanned that document for filing. The Court

has also been informed that the original document has been destroyed. Consequently, a

comparison of the original and the scanned document cannot be made by the District Clerk or the

Court. Appellant states in his motion that he does not have a file-marked copy of the Plaintiff’s

First Amended Response to Defendant’s Motion for Traditional and No Evidence Summary

Judgment, but it appears that Appellee has a copy of the document. The District Clerk’s Office

                                                 1
informed the Court that Appellee emailed it a copy of the document. The Court requested that

the District Clerk’s Office provide a copy of the emailed document so that a comparison could be

made, but the District Clerk’s Office has failed to do so.

       It is therefore ORDERED that the trial court conduct a hearing to determine whether the

Plaintiff’s First Amended Response to Defendant’s Motion for Traditional and No Evidence

Summary Judgment on file with the District Clerk’s Office is an accurate and complete copy of

the document filed by Appellant. The trial court is authorized to hear evidence relevant to this

issue. Further, Appellee is directed to provide to the trial court any copies it has of the

document. The trial court should compare the copy or copies provided by Appellee with the

document on file with the District Clerk and determine whether they are the same.

       The trial judge shall enter any necessary orders and/or findings and shall forward them to

the District Clerk of Travis County on or before November 27, 2016. The District Clerk shall

prepare a supplemental clerk’s record containing the trial court’s findings and/or orders and

forward the same to this Court on or before December 7, 2016. Further, the transcription of the

hearing shall be prepared, certified and filed with this Court on or before December 7, 2016.

       Appellant’s brief received on November 7, 2016 will be held and not filed until after the

issues related to the accuracy of the record has been resolved.

       IT IS SO ORDERED this 7th day of November, 2016.



                                                       PER CURIAM

Before McClure, C.J., Rodriguez, and Hughes, JJ.




                                                  2
